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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
CARLOS GUZMAN, LINA MORA, KARLA RAMOS
and SANTOS M. VIGIL, individually and on behalf of           Civ. No. 21-cv-00658-SJF-AKT
all others similarly situated,
                                                             NOTICE OF VOLUNTARY
                                              Plaintiffs,    DISMISSAL PURSUANT TO
                                                             F.R.C.P. 41(a)(1)(A)(i)
                       -against-

BACTOLAC PHARMACEUTICAL, INC., CHOICE
LONG ISLAND, INC., STEVEN KLEIN, and
HAROLD ROBBINS,

                                            Defendants.

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiffs

CARLOS GUZMAN, LINA MORA, KARLA RAMOS and SANTOS M. VIGIL, by their

attorney the Moser Law Firm, P.C., hereby give notice that the claims in the above captioned

action against BACTOLAC PHARMACEUTICAL, INC., CHOICE LONG ISLAND, INC.,

STEVEN KLEIN, and HAROLD ROBBINS, are voluntarily dismissed, without prejudice.

Dated: Huntington, New York
       February 8, 2021

                                             MOSER LAW FIRM, P.C.

                                             /s/
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